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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


 MATHIEW LOISEL,

                Plaintiff
                                                      Case No. 1:19-cv-00081-NT
                v.

 ROBERT CLINTON, M.D., et al.,

                Defendants


                        JOINT STATUS REPORT OF THE PARTIES

       Now come the Plaintiff, Mathiew Loisel, and the Defendants, Robert Clinton, MD, Richard

Liberty, NP, and Wellpath, LLC, and the Maine Department of Corrections, Randall Liberty and

Matthew Magnusson (hereinafter, collectively, “the parties”), by and through undersigned counsel,

and hereby submit this joint status report in accordance with the Court’s prior order. (Docket #

62.)

       On July 27, 2020, the Court granted the parties’ joint motion to stay the proceedings in this

matter on the ground that the parties had reached an interim agreement that eliminated the need

for further litigation at that time. In a joint status report dated December 15, 2020, the parties

notified the Court that the interim agreement had been finalized and was in the process of being

circulated for signatures, and the parties requested that the Court continue the stay. (Docket # 61.)

On December 17, 2020, the Court issued an order continuing a stay of the proceedings. (Docket

# 62.) At present, the parties agree that a stay of the proceedings remains warranted for continued

implementation and performance of the terms of the agreement.

       In light of the circumstances, the parties anticipate that this will be the last request to

continue the stay and expect the litigation to be finally resolved within the next several months.

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       Respectfully submitted this 1st day of June, 2021.


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                                                            Matthew Magnusson

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